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                       Exhibit B
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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
                              (Camden Vicinage)



  AUTOMOTIVE RENTALS, INC., and
  ARI FLEET LT,
                                              Civ. A. No. 24-5901(CPO)(SAK)
               Plaintiffs,

                      v.
                                                            ORDER
  REDBOX AUTOMATED RETAIL,
  LLC, and CHICKEN SOUP FOR THE
  SOUL ENTERTAINMENT, INC.,

               Defendants.


         THIS MATTER, having been opened to the Court by Plaintiffs Automotive

 Rentals Inc. d/b/a ARI and ARI Fleet LT (collectively, “ARI” or “Plaintiffs”) by

 and through their counsel, upon motion for a Preliminary Injunction and issuance of

 a Writ of Replevin pursuant to Fed. R. Civ. P. 64, Fed. R. Civ. P. 65 and L. Civ. R.

 65.1(a) (ECF No. 2); the Court, having reviewed the papers submitted by the parties

 (ECF Nos. 13 & 21); the Court, having held oral argument on the application on

 May 29, 2024; for the reasons set forth on the record, and for good cause otherwise

 shown;

          IT IS on this ___ day of _________________ 2024,

         ORDERED that Plaintiffs’ motion for a preliminary injunction is DENIED;




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         ORDERED that Plaintiffs’ motion for the issuance of a Writ of Replevin is

 GRANTED;

         IT IS FURTHER ORDERED as follows:

         1.    Pursuant to Fed. R. Civ. P. 64 and N.J. Stat. Ann. § 2B:50-1, et seq., a

 pre-judgment Writ of Replevin shall issue contemporaneously with this Order,

 directing the U.S. Marshal or such other law enforcement officer as may be capable

 of executing on such Order to take possession of the vehicles that are (a) owned by

 ARI, whose leases by ARI to Redbox Automated Retail, LLC have been terminated,

 and (b) the subject of this lawsuit, which includes, without limitation, the vehicles

 identified on attached Exhibit 1 (the “Vehicles”), and deliver the Vehicles to ARI.

         2.    To assist in the repossession process, no later than close of business on

 May 31, 2024, Redbox Automated Retail, LLC and Chicken Soup for the Soul

 Entertainment, Inc. (collectively, the “Defendants”) must provide Plaintiffs with a

 written list identifying (a) each of the Vehicles, (b) where each of the Vehicles is

 located, (c) the name of each of the individual(s) in possession of each of the

 Vehicles, (d) the last known address of each such individual, and (e) the contact

 number for each such individual. Should any such information regarding the location

 or possession of any of the Vehicles change, Defendants, within twenty-four (24)

 hours of learning any changes, must inform Plaintiffs in writing of each of such

 changes and provide the updated information to Plaintiffs.



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         3.    Defendants are hereby prohibited from taking any affirmative action

 that would hinder or otherwise impede Plaintiffs’ repossession efforts with respect

 to the Vehicles, including, without limitation, any action to withhold the delivery of

 the keys to Vehicles to the U.S. Marshal or such other law enforcement officer as

 may be capable of executing on this Order to take possession of the Vehicles.

         4.    Defendants are hereby ordered to inform every individual who is in

 possession of, uses and/or operates any of the Vehicles to immediately cease all

 personal use of the Vehicles, and to remove all personal property, effects and

 belongings owned by such individuals or the Defendants from the Vehicles.

                                  _____________________________________
                                       Hon. Christine P. O’Hearn, U.S.D.J.




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